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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  UNITED STATES OF AMERICA                                           2:21−cv−06967−RGK−MAR
                                                   Plaintiff(s),

           v.
  $341,500.00 IN U.S. CURRENCY
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




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                                                   Clerk, U.S. District Court

  Dated: October 14, 2021                          By: /s/ Andrea Kannike Andrea_Kannike@cacd.uscourts.gov
                                                      Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

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